     Case 3:22-cr-01152-BAS Document 126 Filed 06/02/23 PageID.1170 Page 1 of 2



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9
                             UNITED STATES DISTRICT COURT
10
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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12
        UNITED STATES OF AMERICA,           Case No. 3:22-cr-01152-BAS (KSC)
13                                          Honorable Cynthia A. Bashant
               Plaintiff,
14                                          UNOPPOSED MOTION AND
        v.                                  [PROPOSED] ORDER REGARDING
15                                          CONDITIONS OF RELEASE
        KARIM ARABI, et al.,
16
17             Defendants.
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             UNOPPOSED MOTION AND [PROPOSED] ORDER REGARDING CONDITIONS OF RELEASE
     Case 3:22-cr-01152-BAS Document 126 Filed 06/02/23 PageID.1171 Page 2 of 2



1               Defendant Ali Akbar Shokouhi hereby respectfully requests as follows:
2               On August 9, 2022, the parties appeared and agreed to Defendant Ali Akbar
3      Shokouhi’s conditions of release, which included a provision restricting Mr. Shokouhi’s
4      travel to San Diego County. See CR 20. On September 22, 2022, upon reviewing Mr.
5      Shokouhi’s unopposed application, the Court modified Mr. Shokouhi’s conditions of
6      release to allow him to travel throughout California. See CR 75. Since his release on
7      bond, Mr. Shokouhi has been compliant with the terms and conditions of his pre-trial
8      release.
9               Mr. Shokouhi wishes to travel to the State of New York on June 13, 2023 through
10     June 21, 2023 to attend a business meeting and to visit his youngest daughter who lives
11     there.
12              Counsel for Mr. Shokouhi reached out to both the government and Pretrial
13     Services for their positions on this request, and neither had any objection.
14              Accordingly, for the reasons stated above, Mr. Shokouhi respectfully requests
15     through this motion that the Court amend Mr. Shokouhi’s Conditions of Release to
16     allow him to travel to the State of New York from June 13, 2023 through June 21, 2023.
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19     Dated: June 2, 2023                     KING & SPALDING LLP
20
                                               By: /s/ Jamie A. Lang
21                                                 DAVID K. WILLINGHAM
                                                   JAMIE A. LANG
22                                                 BLYTHE G. KOCHSIEK
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23                                                 SHOKOUHI
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                UNOPPOSED MOTION AND [PROPOSED] ORDER REGARDING CONDITIONS OF RELEASE
